AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

 

United States of America

Russell Delano Miley-Cruz

UNITED STATES DISTRICT COURT

for the
Middle District of Pennsylvania

v. Case No. 3:19-MJ-10

Charging District’s Case No.

 

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Defendant

WATVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

I understand that I have been charged in another district, the (name of other court) Northern District of Ohio

 

 

Ihave been informed of the charges and of my rights to:

(1)
(2)
(3)
(4)

(5)

retain counsel or request the assignment of counsel if I am unable to retain counsel;

an identity hearing to determine whether I am the person named in the charges;

production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise —
unless I am indicted — to determine whether there is probable cause to believe that an offense has

been committed;

a hearing on any motion by the government for detention;

request transfer. of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agyee to waive my right(s) to:

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an identity hearing and production of the warrant.
a preliminary hearing.
a detention hearing.

an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
by that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

 

 

  

 

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Signature of defendant's attorney

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Printed name of defendant's attorney
